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                          UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF CALIFORNIA
 9                             SOUTHERN DIVISION
10   FRANK EISENBAND, individually and on Case No. 8:17−cv−0857 AG (DFMx )
     behalf of all others similarly situated,
11                                            [Hon. Andrew J. Guilford Presiding]
                                Plaintiff,
12                                            Class Action
           vs.
13                                            ORDER ON STIPULATION
     CARGUARDIAN WARRANTY LLC,                FOR DISMISSAL
14   d/b/a CARGUARDIAN, a California
     limited liability company,               Complaint Filed: May 16, 2017
15
                              Defendants.
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18         The Court, having considered the Stipulation for Dismissal (the “Stipulation”),
19   and good cause appearing thereof, ORDERS AS FOLLOWS:
20         1. The Stipulation is GRANTED.
21         2. The above-entitled action is hereby dismissed with prejudice as to Plaintiff
22   Frank Eisenband (“Plaintiff”), in his individual capacity against CarGuardian
23   Warranty LLC d/b/a CarGuardian (“Defendant”).
24         3. The above-entitled action is hereby dismissed without prejudice as to all
25   class claims alleged against Defendant.
26         4. Each party shall bear their own attorney’s fees, costs and expenses.
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                                                           ORDER STIPULATION OF DISMISSAL
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 1         5. The Court will retain jurisdiction to enforce an agreement between the
 2   Parties.
 3         SO APPROVED.
 4   DATED: April 10,
     2018____________________
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 6
                                    By:
 7                                         HON. ANDREW J. GUILFORD
                                           United States District Judge
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                                                      ORDER STIPULATION OF DISMISSAL
                                                                 CASE NO. 8:17-CV-00857
